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Attorneys for Plaintiff Bryon Jackson

                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )         Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )         DECLARATION OF FRANCESCA
                                          )         M. S. GERMINARIO IN SUPPORT
v.                                        )         OF PLAINTIFF’S OPPOSITION TO
                                          )         DEFENDANT’S MOTION IN LIMINE #2
TARGET CORPORATION,                       )         TO EXCLUDE ALL EVIDENCE AND
                                          )         ARGUMENT RELATING TO
   Defendant.                             )         PLAINTIFF’S MEDICAL TREATMENT,
                                          )         MEDICAL EXPENSES OR SPECIAL
                                          )         DAMAGES
                                          )
                                          )         Judge:   Hon. Laurel Beeler
_________________________________________ )
          Case 3:21-cv-08458-LB Document 127-1 Filed 01/25/24 Page 2 of 10


                   DECLARATION OF FRANCESCA MIKI SHIMA GERMINARIO

 I, Francesca Miki Shima Germinario, declare as follows:

         1.      I am an attorney licensed to practice in the State of California, and an associate at the law

 firm of Warren Kash Warren, counsel for plaintiff Bryon Jackson in this action. I have personal

 knowledge of the matters set forth herein and, if called as a witness, could and would testify

 competently thereto.

         2.      Attached as Exhibit 1 is a true and correct copy of excerpts of the transcript of the

 Deposition of Bryon U. Jackson (July 8, 2022).

         I declare under penalty of perjury that the foregoing is true and correct. Executed on January 24,

 2024, in San Francisco, California.


                                                          _________________________________
                                                          Francesca Miki Shima Germinario




                                                         1                          Case No. 3:21-cv-08458-LB
___________________________________________________________________________________________________________
___________________________________________________________________________________________________________________
     GERMINARIO DEC ISO OPPOSITION TO MIL # 2 TO EXCLUDE ALL EVIDENCE AND ARGUMENT
    RELATING TO PLAINTIFF’S MEDICAL TREATMENT MEDICAL EXPENSES OR SPECIAL DAMAGES
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EXHIBIT 1
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                          In the
                          In the Matter
                                 Matter Of:
                                        Of:

                       JACKSON vs
                       JACKSON vs TARGET
                                  TARGET
                               3:21-cv-08458-LB
                               3:21-cv-08458-LB




                       BRYON U.
                       BRYON U. JACKSON
                                JACKSON

                             July 08,
                             July 08, 2022
                                      2022




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      BRYON U.
      BRYON  U. JACKSON
                JACKSON                                              July 08,
                                                                     July 08, 2022
                                                                              2022
      JACKSON vs
      JACKSON      TARGET
                vs TARGET                                                         11

                  UNI TED STATES
·1· · · · · · · · UNITED  STATES DISTRICT
                                 DI STRI CT COURT
                                            COURT
 Nk



                NORTHERN DISTRICT
·2· · · · · · · NORTHERN DI STRI CT OF
                                    OF CALIFORNIA
                                       CALI FORNI A

                     SAN FRANCISCO
                         FRANCI SCO DIVISION
                                    DI VI SI ON
 Ww




·3· · · · · · · · · ·SAN

·4
 ~~




     BRYON JACKSON,·
              JACKSCN,                Case No.
                                    ) Case No. 3:21-cv-08458-LB
 og




·5· ·BRYON                 · · · · )           3:21-cv-08458-LB
· · · · · · · · · · · · · · ·)      )
                    Plaintiff,      )
 oo




·6· · · · · · · Plaintiff,·        ·)
· · · · · · · · · · · · · · ·)      )
          VS.                       )
 NN




·7· · · ·vs.·     · · · · · · · ·)
· · · · · · · · · · · · · · ·)      )
     TARGET CORPORATION,·
·8· ·TARGET    CORPORATI ON,        )
                                 · ·)
 00




· · · · · · · · · · · · · · ·)      )
                    Def endant .
·9· · · · · · · Defendant.·         )
                                   ·)
 ©




· · ·________________________)
10
BR
PO




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16
16·      VI DEOCTAPED ZOOM
    · · ·VIDEOTAPED   ZOOM VIDEOCONFERENCE
                           VI DEOCCONFERENCE DEPOSITION
                                             DEPOSI TI ON OF
                                                          OF

17
17·                   BRYON URIAH
    · · · · · · · · · BRYON URI AH JACKSON
                                   JACKSON

18
18·                   ALAMEDA,
    · · · · · · · · · ALAMEDA, CALI FORNI A
                               CALIFORNIA

19
19·                       JULY 8,
    · · · · · · · · · · · JULY 8, 2022
                                  2022

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25·  REPORTED BY:·
    ·REPORTED BY:  M CHAEL CUNDY,
                   MICHAEL CUNDY, CSR 12271
                                  CSR 12271


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        BRYON  U. JACKSON
                  JACKSON                                              July 08,
                                                                       July 08, 2022
                                                                                2022
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                  vs TARGET                                                        35
                                                                                   35

 ·1· ·BY MR. ROTH:
  Pe



                   right.
 ·2· · · ·Q· · All right.· WM. Jackson,
                           Mr. Jackson, we are
                                        we are back
                                               back on
                                                    on the
                                                       the
  DN




      record.
  Ww




 ·3· ·record.
               Do you
                  you understand
                      understand you
                                 you are
                                     are still
                                         still under oath?
                                                     oath?
  ~~




 ·4· · · · · · Do                              under
          A · Correct.·
 ·5· · · ·A·  Correct.  Yes, I
                        Yes, | do.
                               do.
  Oo




          Q · All
              All right.·
                  right.  MM. Jackson,
                              Jackson, could you
                                             you tell
                                                 tell me
                                                      ne
  oo




 ·6· · · ·Q·              Mr.          could
      what parts
           parts of
                 of the
                    the body
                        body you
                             you --
                                 -- you
                                    you --
                                        -- were
                                           were injured
                                                injured that
                                                        that
  NN




 ·7· ·what
      you attribute
 ·8· ·you attribute to
                    to the
                       the incident
                           incident at
                                    at Target?
                                       Target?
  00




          A · As
 ·9· · · ·A·  As I
                 | said,
                   said, my
                         ny right
                            right --
                                  -- my
                                     my lower
                                        lower right
                                              right side
                                                    side
  ©




      here, I
 10· ·here, | was hit here.
              was hit here.
  O
REE




               And I
                   | just noticed that,
                                  that, as
                                        as a
                                           a result
                                             result of
                                                    of that,
                                                       that,
  +»,




 11· · · · · · And   just noticed
 12· ·I| have
         have been
              been experiencing
                   experiencing some
                                sone back
                                     back pains,
                                          pains, and
                                                 and sometime
                                                     sonetine
  WN
PPR




      when I
 13· ·when | sit,
             sit, if
                  if --
                     -- I
                        | cannot
                          cannot sit
                                 sit in
                                     in a
                                        a certain
                                          certain position
                                                  position
      too long.·
          long.  I| have
                    have to
                         to be
                            be constantly
                               constantly moving
                                          noving or
                                                 or sometimes
                                                    sonetines
  dM




 14· ·too
 15· ·I| have
         have to
              to get
                 get up
                     up and
                        and --
                            -- and
                               and sit
                                   sit again.·
                                       again.  I| cannot
                                                  cannot sit
                                                         sit
  Oo
RP




      In a
         a straight
           straight position.
                    position.
  OO




 16· ·in
FPP




               And as
                   as a
                      a result
                        result of
                               of that,
                                  that, there
                                        there are
                                              are other
                                                  other --
                                                        --
  NN




 17· · · · · · And
      the thing
          thing that
                that I
                     | noticed
                       noticed significantly
                               significantly is
                                             is the
                                                the urinate
                                                    urinate
  00




 18· ·the
BP




      problem
 19· ·problem, the constant,
               the constant, at night
                             at night and
                                      and even
                                          even during
                                               during the
                                                      the
BP
  ©




      day.  That's probably
                   probably the
                            the most
                                nost significant,
                                     significant, and the
                                                      the
  OO




 20· ·day.· That's                                and
NN




      back pain
 21· ·back pain and
                and sitting
                    sitting long
                            long in
                                 in one
                                    one position.
                                        position.
  PB




          Q · Okay.·
              Ckay.  You said
                         said right
                              right here,
                                    here, and
                                          and so
                                              so
  NN
ND




 22· · · ·Q·         You
      unfortunately, I| need
                        need to
                             to --
                                -- if
                                   if you
                                      you can
                                          can describe
                                              describe for
                                                       for me
                                                           ne
  WOW
ND




 23· ·unfortunately,
      where on
            on your
               your body
                    body you
                         you were hit by
                                      by the
                                         the "hit."
                                             "hit."
ND




 24· ·where                  were hit
  A




          A    Right --
                     -- right
                        right here
                              here on
                                   on my
                                      ny right
                                         right here
                                               here --
                                                    --
NN
  oa




 25· · · ·A· · Right


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        BRYON U.
        BRYON  U. JACKSON
                  JACKSON                                             July 08,
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                                                                               2022
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                  vs TARGET                                                       37
                                                                                  37

      but are
 ·1· ·but are you
              you still
                  still experiencing
                        experiencing that
                                     that back
                                          back pain?
                                               pain?
  Pe



          A
 ·2· · · ·A· · I| think
                  think it
                        it --
                           -- it
                              it --
                                 -- now
                                    now and
                                        and then,
                                            then, I -- it's
  DN




      hard to
           to attribute
              attribute it
                        it to
                           to that,
                              that, but
                                    but I
                                        | know
                                          know it
                                               it might
                                                  m ght be
  Ww




 ·3· ·hard                                              be
      sone contributing
           contributing factor
                        factor but
                               but not
                                   not consistently
                                       consistently as
                                                    as --
                                                       --
  ~~




 ·4· ·some
      there was
 ·5· ·there     a duration
            was a duration of
                           of about
                              about three
                                    three to
                                          to six
                                             six months,
                                                 nonths, and
                                                         and
  Oo




      It goes
         goes away,
              away, and
                    and --
                        -- but
                           but the
                               the sitting
                                   sitting and
                                           and the
                                               the urine
                                                   urine --
                                                         --
  oo




 ·6· ·it
      constant going
               going to
                     to the
                        the bathroom,
                            bathroom  I| know
                                         know that has --
                                                       --
  NN




 ·7· ·constant                                that has
      that was
 ·8· ·that was a
               a significant
                 significant --
                             -- that
                                that significantly
                                     significantly
  00




      I ncr eased.
 ·9· ·increased.
  ©




          Q · Okay.·
 10· · · ·Q·  Ckay.  Are you
                     Are you still
                             still having
                                   having the
                                          the urinary
                                              urinary
  O
REE




      | ssues?
  +»,




 11· ·issues?
          A · Yes,
 12· · · ·A·  Yes, mainly
                   mainly at
                          at night.·
                             night.  [It's just
                                     It's       sonething
                                           just something
  WN
PPR




      t hat happens
 13· ·that  happens after
                    after that
                          that I
                               | notice,
                                 notice, and it's
                                         and it's still
                                                  still
      consi stent.
  dM




 14· ·consistent.
          Q · Is
              Is it
                 it every
                    every night?
                          night?
  Oo




 15· · · ·Q·
RP




 16· · · ·A· · I| would say twice
                            twice --
                                  -- at
                                     at least
                                        |east twice
                                              tw ce a
                                                    a night.
                                                      night.
  OO




                  would say
FPP




               Twi ce a
                      a night
                        night every
                              every night,
                                    night, though?
  NN




 17· · · ·Q· · Twice                       though?
               Yes.  Maybe one
                           one or
                               or two
                                  two nights,
                                      nights, it's
                                              it's --
                                                   -- and
                                                      and it
                                                          it
  00




 18· · · ·A· · Yes.· Maybe
BP




      may not
 19· ·may not but
              but it's
                  it's just very consistent
                       just very consistent that
                                            that way.
                                                 way.
BP
  ©




          Q · Have
              Have you
                   you seen
                       seen a
                            a doctor
                              doctor for
                                     for it?
                                         it?
  OO




 20· · · ·Q·
NN




          A · As
 21· · · ·A·  As I
                 | said,
                   said, no.·
                         no.  One of
                              One of the
                                     the reasons
                                         reasons why
                                                 why I
                                                     | am
                                                       am
  PB




      not, I
           | wanted
             wanted to
                    to let
                       let the
                           the COVID
                               COVID situation
                                     situation goes
                                               goes away
                                                    away
  NN
ND




 22· ·not,
      because I
              | just didn't want
                            want to
                                 to get
                                    get into
                                        into an
                                             an environment
                                                environment
  WOW
ND




 23· ·because   just didn't
      where there
            there is
                  is a
                     a potential
                       potential to be
                                    be exposed
                                       exposed to
                                               to COVID
                                                  COVID
ND




 24· ·where                      to
  A




      because of
              of family
                 fam ly history
                        history and
                                and potential
                                    potential risk.  MM age,
                                                        age,
NN
  oa




 25· ·because                                 risk.· My


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        BRYON U.
        BRYON  U. JACKSON
                  JACKSON                                             July 08,
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                                                                               2022
        JACKSON vs
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                  vs TARGET                                                       38
                                                                                  38

      |'m not
 ·1· ·I'm not a
              a spring
                spring chicken
                       chicken any
                               any more,
                                   nore, so
                                         so I
                                            | just want to
                                              just want to
  Pe



      be as
 ·2· ·be as careful
            careful as possible.·
                    as possible.  That's the
                                  That's the main
                                             main reason
                                                  reason
  DN




      why.
  Ww




 ·3· ·why.
          Q · And
              And had
                  had you
                      you ever
                          ever had
                               had any
                                   any urinary
                                       urinary problems
                                               probl ens
  ~~




 ·4· · · ·Q·
      prior to
 ·5· ·prior to the
               the incident
                   incident at
                            at Target?
                               Target?
  Oo




          A    No.  I| would say no.·
                                 no.  Only if
                                           if probably
                                              probably --
                                                       -- no,
                                                          no,
  oo




 ·6· · · ·A· · No.·    would say      Only
  NN




 ·7· ·no, no.
               Ckay.
 ·8· · · ·Q· · Okay.· And had you
                      And had you ever
                                  ever had
                                       had any
                                           any back
                                               back pain
                                                    pain
  00




      prior to
 ·9· ·prior to the
               the incident
                   incident at
                            at Target?
                               Target?
  ©




          A · No,
 10· · · ·A·  No, no.·
                  no.  Not that
                       Not that I
                                |I know
                                   know of,
                                        of, no.·
                                            no.  Definitely
                                                 Definitely
  O
REE
  +»,




 11· ·no.
          Q · All
 12· · · ·Q·  All right.·
                  right.  Now, you
                          Now,     also mentioned
                               you also nentioned that
                                                  that --
                                                       --
  WN
PPR




      you know,
 13· ·you know, that
                that you
                     you were
                         were having
                              having difficulty
                                     difficulty getting
                                                getting out
                                                        out
      of bed
         bed in
             in the
                the mornings?
                    nornings?
  dM




 14· ·of
          A · Yes,
              Yes, yes.
                   yes.
  Oo




 15· · · ·A·
RP




               How |long
                     ong --
                         -- how
                            how long
                                long did
                                     did that
                                         that last?
                                              |ast?
  OO




 16· · · ·Q· · How
FPP




               Probably --
                        -- even
                           even up
                                up to
                                   to this
                                      this day,
                                           day, it
                                                it lasts.
                                                   lasts.
  NN




 17· · · ·A· · Probably
      In the
         the morning
             norning and
                     and one
                         one certain
                             certain side,
                                     side, you
                                           you know,
                                               know, I
                                                     | --
                                                       -- I
                                                          |
  00




 18· ·In
BP




      just --
 19· ·just -- it's
              it's still
                   still -- it's
                         -- it's still
                                 still happening.
                                       happening.· Getting
                                                   Getting
BP
  ©




      out of
          of bed,
             bed, waking
                  waking up,
                         up, I
                             | have
                               have to
                                    to just lean to
                                                 to one
                                                    one side
                                                        side
  OO




 20· ·out                              just lean
NN




      and carefully
 21· ·and carefully before
                    before I
                           | get
                             get up.·
                                 up.  It's a
                                      It's a process.
                                             process.
  PB




      Getting out
              out of
                  of bed,
                     bed, it's
                          it's a
                               a particular
                                 particular process.
                                            process.
  NN
ND




 22· ·Getting
          Q · Okay.·
              Ckay.  And that's because
                                because of
                                        of back
                                           back pain?
                                                pain?
  WOW
ND




 23· · · ·Q·         And that's
          A    Yes, yes
                    yes --
                        --
ND




 24· · · ·A· · Yes,
  A




               And --
                   --
NN
  oa




 25· · · ·Q· · And


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                                                              800.211.DEPO   (3376)
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        BRYON U.
        BRYON  U. JACKSON
                  JACKSON                                              July 08,
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                                                                                2022
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                  vs TARGET                                                        39
                                                                                   39

               -- back
 ·1· · · ·A· · -- back and
                       and side.
                           si de.
  Pe



          Q · Okay.·
 ·2· · · ·Q·  Ckay.  And when --
                     And when -- can
                                 can you
                                     you describe
                                         describe where
                                                  where you
                                                        you
  DN




      feel that
           that pain
                pain for
                     for me?
                         ne?
  Ww




 ·3· ·feel
          A    It's to
                    to the
                       the right
                           right and
                                 and to
                                     to the
                                        the back,
                                            back, right
                                                  right here
                                                        here
  ~~




 ·4· · · ·A· · It's
      and here.
 ·5· ·and here.
  Oo




               Ckay.  So above
                         above the
                               the belt?
                                   belt?
  oo




 ·6· · · ·Q· · Okay.· So
               Yes, correct.
                    correct.
  NN




 ·7· · · ·A· · Yes,
          Q · And
 ·8· · · ·Q·  And from
                  fromthe  right side
                       the right side of
                                      of the
                                         the back
                                             back to
                                                  to the
                                                     the
  00




      side of
 ·9· ·side of the
              the back
                  back --
                       --
  ©




          A
 10· · · ·A·   Yes.
             · Yes.
  O
REE




          Q · --
              -- to
                 to the
                    the side?
                        side?
  +»,




 11· · · ·Q·
          A
 12· · · ·A·   Correct.
             · Correct.
  WN
PPR




          Q · And
 13· · · ·Q·  And --
                  -- and
                     and do
                         do you
                            you experience
                                experience any
                                           any other
                                               other type
                                                     type
      of, like,
          like, pain
                pain maybe
                     maybe shooting
                           shooting down
                                    down your
                                         your leg
                                              leg or
                                                  or
  dM




 14· ·of,
      anything like
               like that?
                    that?
  Oo




 15· ·anything
RP




          A    That happens
                    happens sometime,
                            sonetine, and I
                                          | have
                                            have to
                                                 to stretch
                                                    stretch
  OO




 16· · · ·A· · That                   and
FPP




      out my
          ny feet.·
             feet.  And like,
                        like, there's
                              there's a
                                      a stinging
                                        stinging pain
                                                 pain that
                                                      that
  NN




 17· ·out           And
      goes, like,
            like, to
                  to the
                     the bottom
                         bottomof  ny shoe
                                      shoe that
                                           that happens
                                                happens from
                                                        from
  00




 18· ·goes,                     of my
BP




      time to
 19· ·time to time
              time occasionally.
                   occasionally.
BP
  ©




 20· · · · · · I| could
                  could be
                        be sitting
                           sitting somewhere,
                                   sonewhere, and then
                                                  then all
                                                       all of
                                                           of
  OO




                                              and
NN




      a sudden,
 21· ·a sudden, there's
                there's a
                        a stinging
                          stinging pain
                                   pain just goes all
                                        just goes all the
                                                      the
  PB




      way down
          down to
               to the
                  the bottom
                      bottomof  ny feet,
                                   feet, and
                                         and I
                                             | have
                                               have to
                                                    to
  NN
ND




 22· ·way                    of my
      stretch my
              ny feet
                 feet out.·
                      out.  And I
                                | only
                                  only noticed
                                       noticed that
                                               that after
                                                    after
  WOW
ND




 23· ·stretch               And
      t he incident.
           incident.
ND




 24· ·the
  A




          Q · When
              When did
                   did you
                       you start
                           start experiencing
                                 experiencing that
                                              that --
                                                   -- that
                                                      that
NN
  oa




 25· · · ·Q·


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        BRYON U.
        BRYON  U. JACKSON
                  JACKSON                                               July 08,
                                                                        July 08, 2022
                                                                                 2022
        JACKSON vs
        JACKSON      TARGET
                  vs TARGET                                                         62
                                                                                    62

      | ose your
 ·1· ·lose  your balance
                 bal ance in
                          in any
                             any way
                                 way that
                                     that you
                                          you had
                                              had to,
                                                  to, like,
                                                      like,
  NP



      take a
 ·2· ·take a step
             step or
                  or two
                     two to
                         to regain
                            regain your
                                   your balance?
                                        bal ance?
          A  · I| may
                  may have
                      have --
                           -- yeah.·
                              yeah.  | may
                                       may --
                                           -- I
                                              | may
                                                may have
                                                    have
  Ww




 ·3· · · ·A·                         I
      taken a
            a step,
              step, yes, to
                         to maintain
                            maintain my
                                     ny center
                                        center of
                                               of gravity,
                                                  gravity,
  ~~




 ·4· ·taken         yes,
      yes.
 ·5· ·yes.
  Oo




          Q · And
 ·6· · · ·Q·  And did
                  di d your body react,
                       your body react, get jolted
                                        get        in any
                                            jolted in any
  Oo




      parti cul ar way, maybe your
                              your upper
                                   upper body,
                                         body, as a
                                                  a result
                                                    result of
                                                           of
  NN




 ·7· ·particular   way, maybe                  as
      t he impact?
 ·8· ·the  i npact?
  00




          A
 ·9· · · ·A· · I| think
                  think so.·
                        so.  I| think
                                think so,
                                      so, yes.
                                          yes.
  ©




          Q · Okay.·
 10· · · ·Q·  Okay.  All right.
                     All right.
R
O




               And you
 11· · · · · · And you felt
                       felt immediate
                            inmediate pain
                                      pain to
                                           to your left --
                                              your left --
NN FP
RE




      to your
 12· ·to your right
              right side?
                    side?
          A
 13· · · ·A·   Not immediately.·
             · Not immediately.  | felt
                                 I felt the
                                        the pain.·
                                            pain.  The pain
                                                   The pain
    W
RPP




      gradually started
 14· ·gradually started as
                        as the
                           the day
                               day go
                                   go by,
                                      by, and
                                          and it
                                              it just start
                                                 just start
»




      escal ating slowly.
                  slowy.
OO Oo




 15· ·escalating
PRP




          Q · Did
 16· · · ·Q·  Did you
                  you get
                      get a
                          a bruise
                            bruise at
                                   at all
                                      all from
                                          fromthe  inpact?
                                               the impact?
          A    A bruise,
                 bruise, like, on
                               on my
                                  ny --
                                     -- I
                                        | don't
                                          don't remember,
                                                renenber,
 NN




 17· · · ·A· · A         like,
FP




      but I -- I -- I
 18· ·but           | --
                      -- bruise
                         bruise to
                                to my
                                   ny body,
                                      body, no,
                                            no, I
                                                | don't
                                                  don't
BP
©




      think there
 19· ·think there was
                  was a
                      a bruise
                        bruise because
                               because I
                                       | may
                                         may had
                                             had a
                                                 a coat
                                                   coat on
                                                        on
BP
 ©




      or a
 20· ·or a thicker
           thicker shirt.
                   shirt.
BP O
NN




          Q · Any
 21· · · ·Q·  Any chance
                  chance that
                         that maybe
                              maybe she
                                    she --
                                        -- when
                                           when she
                                                she said,
                                                    said,
      get out
 22· ·get out of
              of here,
                 here, nigger,
                       nigger, was in
                               was in response
                                      response to
                                               to your
                                                  your
WN
NN




      yelling at
 23· ·yelling at her
                 her as
                     as to
                        to whether or not
                           whether or not she
                                          she was fucking
                                              was fucking
      crazy?
ND
BA




 24· ·crazy?
          A
 25· · · ·A· · I| cannot
                  cannot say
                         say what
                             what she
                                  she was thinking.
                                      was thinking.
N
a




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